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                 U.S. District Court
               Middle District of Florida
                   Tampa Division

              GOVERNMENT EXHIBIT

     Exhibit No.: 307

     Case No.: 8:22-cr-259-WFJ-AEP

     UNITED STATES OF AMERICA

     vs.

     OMALI YESHITELA, ET AL.


     Date Identified:                    __________

     Date Admitted:                   ____________
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                                                  Friday, June 28, 2019


                              So I have the elections                                                        AI
                              Jun 28, 2019, 9:14 PM: Alexander Ionov




                              46%                                                                            AI
                              Jun 28, 2019, 9:14 PM: Alexander Ionov




                              On exit polls                                                                  AI
                              Jun 28, 2019, 9:14 PM: Alexander Ionov




AS    Did she lose?
      Jun 28, 2019, 9:14 PM: Aleksei Sukhodolov




                              No                                                                             AI
                              Jun 28, 2019, 9:15 PM: Alexander Ionov




                              They are on August 26                                                          AI
                              Jun 28, 2019, 9:15 PM: Alexander Ionov




                              I think the black female will make it through                                  AI
                              Jun 28, 2019, 9:15 PM: Alexander Ionov




AS    Ah... It would be good
      Jun 28, 2019, 9:15 PM: Aleksei Sukhodolov




                              For sure                                                                       AI
                              Jun 28, 2019, 9:15 PM: Alexander Ionov




                              I do consulting every week                                                     AI
                              Jun 28, 2019, 9:15 PM: Alexander Ionov
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                              We'll be doing our best                                                        AI
                              Jun 28, 2019, 9:15 PM: Alexander Ionov




AS    Go ahead
      Jun 28, 2019, 9:15 PM: Aleksei Sukhodolov




                              We're doing our best                                                           AI
                              Jun 28, 2019, 9:16 PM: Alexander Ionov
